            Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 1 of 12




1                                                             The Honorable Thomas S. Zilly

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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE

9    BAO XUYEN LE, INDIVIDUALLY, as
     Personal Representative of the Estate of
10
     TOMMY LE; HOAI “SUNNY” LE; and DIEU                   No. 2:18-CV-00055-TSZ
11   HO,

12                                           Plaintiffs,   DEFENDANT KING COUNTY'S
                                                           MOTION FOR CERTIFICATION
13                vs.                                      UNDER 28 U.S.C. § 1292(b)

14   REVEREND DR. MARTIN LUTHER KING
     JR. COUNTY; and KING COUNTY DEPUTY
15   SHERIFF CESAR MOLINA,                                 Noted on Calendar: June 21, 2019

16                                         Defendants.
17

18                                    I.    RELIEF REQUESTED

19         Pursuant to 28 U.S.C. §1292(b), defendant King County respectfully requests that

20   the court certify the following question to the Ninth Circuit Court of Appeals:

21      When the material facts of this case are considered in a light most favorable to
        plaintiffs, is King County liable as a matter of law under the Monell requirements of
22      42 U.S.C. § 1983 through proper application of the ratification doctrine?

23

     DEFENDANT KING COUNTY'S MOTION FOR                          Daniel T. Satterberg, Prosecuting Attorney
     CERTIFICATION UNDER 28 U.S.C. § 1292(b) - 1                 CIVIL DIVISION, Litigation Section
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             Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 2 of 12




1                                  II.    STATEMENT OF FACTS

2          The Plaintiffs filed suit against King County and King County Sheriff Deputy

3    Cesar Molina alleging a variety of state claims and federal civil rights claims against
4
     them, following an officer-involved-shooting on June 14, 2017. See Dkts. 1 & 17.
5
     Plaintiffs’ complaints went through a series of revisions after certain parties and claims
6
     identified by plaintiffs were voluntarily dismissed. Dkt. 27.
7
           The remaining defendants subsequently filed separate motions for summary
8
     judgment as to plaintiffs’ surviving claims. Dkts. 78 & 87. The court initially filed a
9
     minute order, dated April 15, 2019, granting in part, striking in part, and deferring in
10
     part, the defendants’ motions for summary judgment. Dkt. 143. In that order, the court
11

12   deferred the remaining claims against King County, namely Monell liability with regard

13   to any ratification of Deputy Molina’s use of allegedly excessive force; Monell liability

14   with regard to any ratification as to any deprivation of liberty; wrongful death and

15   survival action under RCW 4.20.020 and 046; and lastly, the tort of Outrage, until oral

16   argument. Dkt. 143. The court also ruled that Deputy Molina’s motion for summary
17
     judgment, which dealt with qualified immunity, was deferred until oral argument on
18
     May 9, 2019. Id.
19
            Eleven days later, on April 26, 2019, the court filed another minute order denying
20
     King County’s and Deputy Molina’s motions for summary judgment as to plaintiffs’
21
     Fourth and Fourteenth Amendment claims but deferring plaintiffs’ Monell claim against
22
     King County and deferring Deputy Molina’s assertion of qualified immunity. Dkt. 148.
23

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             Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 3 of 12




1    The court granted the defendants’ motions for summary judgment on the wrongful

2    death and general survival claims and limited plaintiffs’ possible recovery under the
3
     special survival statute, RCW 4.20.046. Id.
4
           On May 16, 2019, the court heard oral argument on the deferred summary
5
     judgment motions and issued minute orders denying King County’s motion under
6
     Monell liability and Deputy Molina’s motion for qualified immunity. Dkts. 178 & 190.
7
            On May 28, 2019, Deputy Molina filed a Notice of Appeal. Dkt 191. King County
8
     also filed a Notice of Appeal. Dkt. 193. Deputy Molina’s appeal challenges the denial of
9
     summary judgment on qualified immunity. The sole issue in King County’s existing
10

11   appeal is whether Deputy Molina violated plaintiffs’ constitutional rights – the same

12   issue presented in the first prong of the qualified immunity inquiry.

13          On May 29, 2019, Plaintiffs’ filed a motion to certify the appeals as frivolous and

14   on June 4, 2019, the court denied Plaintiffs’ motion and stayed the proceedings. Dkts.

15   196 & 209. The Ninth Circuit Court of Appeals issued a Time Schedule Order setting a

16   deadline of July 29, 2019, for Deputy Molina and King County to file their opening
17
     briefs. Dkt. 198.
18
                                      III.   ARGUMENT
19
           Through the 28 U.S.C. §1292(b) certification process, King County asks this court
20
     to expand the issues on appeal to include the difficult Monell issues raised by
21
     application of ratification doctrine to the facts of this case. As noted below, the
22
     requirements for certification are well satisfied. Placing the ratification issue – which
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             Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 4 of 12




1    has been problematic and vexing to District Court judges both within and outside the

2    Western District – would serve the interests of judicial economy and advance ultimate
3
     resolution of this case. The existing case law from the Ninth Circuit does not provide a
4
     definitive answer under the facts of this case, as this court noted in making its decision,
5
     the District Court decisions provide authority that favors the positions of both sides in
6
     this case. “Where an issue has not been squarely addressed by the Ninth Circuit Court
7
     of Appeals and is ‘inextricably intertwined’ with an issue already on appeal,
8
     certification is appropriate.” United States v. Washington, 20 F. Supp.3d 899, 938 (W.D.
9
     Wash. 2008).
10
           A. The District Court has Discretion to Certify an Interlocutory Appeal When
11
              the Requirements of 28 U.S.C. § 1292(b) Are Satisfied.
12
            Generally, the United States Courts of Appeals have jurisdiction over appeals
13
     from “final decisions of the district courts.” See 28 U.S.C. § 1291. Congress created an
14
     exception to that final-judgment rule, however, in 28 U.S.C. § 1292(b), which “provides
15
     a mechanism by which litigants can bring an immediate appeal of a non-final order
16
     upon the consent of both the district court and the court of appeals.” In re Cement
17
     Antitrust, 673 F.2d 1020, 1025–26 (9th Cir.1982) (en banc); Villarreal v. Caremark LLC, 85 F.
18

19   Supp.3d 1063, 1067 (D. Ariz. 2015). Although King County acknowledges that relief

20   under 28 U.S.C. § 1292(b) is applied sparingly and viewed as a narrow exception to the

21   final judgment rule, it is nonetheless available when a District Judge is “of the opinion

22   that such order involves a controlling question of law as to which there is substantial

23

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               Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 5 of 12




1    ground for difference of opinion and that an immediate appeal from the order may

2    materially advance the ultimate termination of the litigation, he shall so state in writing
3
     in such order.” Couch v. Telescope Inc., 611 F.3d 629, 633 (9th Cir. 2010).
4
            Thus, a district court may certify an otherwise non-appealable order for review
5
     by an appellate court when three conditions are met: (1) the order involves a
6
     “controlling question of law”; (2) there is “substantial ground for difference of opinion”;
7
     and (3) “an immediate appeal from the order may materially advance the ultimate
8
     termination of the litigation.” 28 U.S.C. § 1292(b). All three criteria must be met in order
9
     for a district court to certify an issue for interlocutory appeal. Couch, 611 F.3d at 633; see
10

11   also City of San Diego v. Monsanto Co., 310 F. Supp.3d 1057, 1065 (S.D. Cal. 2018). In this

12   case, the three conditions for certification are satisfied and review to the Ninth Circuit

13   Court of Appeals is appropriate.

14        B.     King County Has Satisfied the Requirements Under 28 U.S.C. § 1292(b)
                 And Therefore, This Court Should Certify Review to the Ninth Circuit
15               Court of Appeals.

16          1. The order involves a “controlling question of law.”

17         To meet the requirement that the proposed interlocutory appeal raises a
18
     controlling question of law, the moving party must show “that resolution of the issue
19
     on appeal could materially affect the outcome of litigation in the district court.” Hawaii
20
     ex rel. Louie v. JP Morgan Chase & Co., 921 F. Supp.2d 1059, 1065 (D. Haw. 2013)(quoting
21
     in re Cement Antitrust Litig., 673 F.2d at 1026). Here, if ratification fails as a matter of law
22
     to establish King County’s liability under Monell, then the remaining §1983 claims
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             Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 6 of 12




1    against King County are necessarily dismissed and the litigation against the County

2    terminates. This is a quintessential controlling question of law.
3          2. There is substantial ground for difference of opinion.
4
           There is a “substantial ground for difference of opinion” if “there is a genuine
5
     dispute over the question of law that is the subject of the appeal.” In re Cement Antitrust
6
     Litig., 673 F.2d at 1026. As the Ninth Circuit explained in Couch v. Telescope Inc., 611 F.3d
7
     629, 633 (9th Cir. 2010):
8
            To determine if a “substantial ground for difference of opinion” exists under §
9           1292(b), courts must examine to what extent the controlling law is unclear. Courts
            traditionally will find that a substantial ground for difference of opinion exists where
10          “the circuits are in dispute on the question and the court of appeals of the circuit has not
            spoken on the point, if complicated questions arise under foreign law, or if novel and
11
            difficult questions of first impression are presented.” 3 Federal Procedure, Lawyers
12          Edition § 3:212 (2010) (footnotes omitted). However, “just because a court is the
            first to rule on a particular question or just because counsel contends that one
13          precedent rather than another is controlling does not mean there is such a
            substantial difference of opinion as will support an interlocutory appeal.” Id.
14          (footnotes omitted).

15   (Emphasis added). Although this court ruled in plaintiffs favor when denying summary

16   judgment, it specifically noted at oral argument the disagreement among courts

17   deciding this issue under similar facts.
18
            The disagreement over ratification law within this District -- as illustrated by the
19
     inconsistent approaches taken in Thomas v. Cannon, 2017 WL 2289081 (W.D. WA. May
20
     25, 2017) and German v. Roberts, 2017 WL 6547472 (W.D. Wa. Dec. 22, 2017) -- supports
21
     this element of certification. In deciding the German case, Judge Settle noted the Thomas
22
     case when pointing out that “lower courts appear to be divided on whether a Plaintiff
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            Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 7 of 12




1    adequately supports a theory of Monell ratification on summary judgment whenever an

2    internal police investigation concludes that a shooting by its officers was lawful and
3
     within the municipality’s policies.” 2017 WL 6547472 at *2.
4
            In Thomas, Plaintiffs successfully argued that the municipalities were liable under
5
     Monell under a ratification theory due to the finding of the Shooting Review Board that
6
     concluded the sniper’s actions were lawful and within policy. They relied on Rosales v
7
     City of Chico, 2015 WL 6167740 (E.D. Cal. Oct. 20, 2015) in which the court said that the
8
     pronouncement by the Chief of Police that the officer’s alleged use of force was in
9
     compliance with Department policy gives rise to a Monell claim. The court rejected the
10

11   municipalities’ theories, which relied, in part, on Kanae v. Hodson, 294 F. Supp.2d 1179,

12   1191 (D. Haw. 2003). An opposing approach ruled the day in German, where the court

13   followed Kanae and not the analysis of Thomas.

14          The U.S. District Court in Oregon also has acknowledged the conflict regarding

15   the evidence required to establish Monell municipal liability on a ratification theory

16   based on a final policymaker’s after-the-fact conduct. In Ashley v. Sutton, 492 F. Supp.2d
17
     1230, 1253 (D. Or. 2007), an arrestee brought claims under § 1983 for unconstitutional
18
     seizure and excessive force against the involved police officer, the department police
19
     chief and the City of Milton-Freewater for her arrest and tasering. During the litigation
20
     of the case, the Chief of Police for the Milton-Freewater Police Department submitted a
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     declaration stating that he had reviewed the police report completed by the involved
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     deputy and the interviews of any involved personnel, and he concluded that there were
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             Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 8 of 12




1    “no City of Milton-Freewater Police Department policies or procedures that were not

2    properly followed in this case.” Id. The court denied the City’s summary judgment
3
     motion based solely on the representations of the Police Chief in his declaration stating,
4
     “the City can be liable for actions taken by [officer] Sutton that lead to a finding of
5
     liability on the excessive force claim that were ratified by [Chief] Gallaher as a
6
     policymaker.” Id. at 1253. However, one year later, the U.S. District Court in Kaady v.
7
     City of Sandy, 2008 W.L. 5111101 (D. Or. Nov. 26, 2008) did not follow Ashley and
8
     granted summary judgment on plaintiff’s ratification theory of Monell liability despite
9
     decisions by both the Clackamas County Sheriff and the City of Sandy Police Chief
10

11   adopting the findings of their shooting review boards that their officers acted in

12   accordance with policy. Id. at *23. See also Estate v. Morad v. City of Long Beach, 2017 WL

13   10511122 (C.D. Cal. Dec. 20, 2017)(The court granted summary judgment for the City

14   despite police chief’s finding that officer’s conduct was within policy and assessed no

15   discipline after receiving the recommendation of the shooting review board. The court

16   stated, “This single decision was therefore not an affirmative choice to ratify
17
     unconstitutional conduct.”).
18
            The point of King County’s request for certification is not to re-litigate which of
19
     the above approaches to ratification is appropriate in the Ninth Circuit, but to point out
20
     the divergent opinions between learned district court judges. Because this issue has
21
     resulted in substantially different legal approaches and no controlling Ninth Circuit
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             Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 9 of 12




1    authority that is dispositive under the facts of this case, it meets the certification

2    requirement of “substantial ground for difference of opinion.”
3
          3. An immediate appeal from the order may materially advance the ultimate
             termination of the litigation.
4

5           Certification “materially advances the ultimate termination of the litigation”

6    when “allowing an interlocutory appeal would avoid protracted and expensive

7    litigation,” saving both the court and the parties “unnecessary trouble and expense.” In

8    re Cement Antitrust Litig., 673 F.2d at 1026; Hawaii ex rel. Louie, 921 F. Supp. at 1067

9    (quoting United States v. Adam Bros. Farming, Inc., 369 F. Supp.2d 1180, 1182 (C.D. Cal.

10   2004)). There is little doubt that this element of certification is met here.
11
            If this case survives the current appeal, a trial addressed to the question of
12
     ratification is necessary. Jury instructions on this issue are problematic due to the
13
     differing lines of authority. Thus, regardless of trial outcome, further appeals and the
14
     possibility of retrial loom. With the case already on appeal, it makes sense to resolve the
15
     controlling and problematic question of ratification now, rather than through a later
16
     appeal. Certifying the ratification issue would materially advance the termination of
17
     this litigation by allowing the parties to obtain determinative guidance from the Ninth
18

19   Circuit on this dispositive issue. The current appeal will be no longer and no shorter

20   with an additional issue included in the briefing. In contrast, if resolution of ratification

21   is delayed until an appeal following a final judgment, this case could go on far, far

22   longer and occupy substantially more court resources.

23

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           Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 10 of 12




1                                       IV. CONCLUSION

2          For these reasons, King County requests certification of the ratification issue for

3    immediate appeal.
4
           DATED this 6th day of June 2019, at Seattle, Washington.
5

6                                             DANIEL T. SATTERBERG
                                              King County Prosecuting Attorney
7

8
                                              /s/Daniel L. Kinerk___________________
9                                             DANIEL L. KINERK, WSBA #13537
                                              KATHY VAN OLST, WSBA #21186
10
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11
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            Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 11 of 12




1                                   CERTIFICATE OF SERVICE

2           I hereby certify that on June 6, 2019, I electronically filed the foregoing

3    document(s) with the Clerk of the Court using the CM/ECF System, which will send
4
     notification of such filing to the following participants:
5
                                       Jeffrey M Campiche
6                                        Philip G. Arnold
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18                                   phil@tal-fitzlaw.com
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19

20          I declare under penalty of perjury under the laws of the United States and the

21   State of Washington that the foregoing is true and correct.
22

23

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           Case 2:18-cv-00055-TSZ Document 211 Filed 06/06/19 Page 12 of 12




1             DATED this 6th day of June 2019 at Seattle, Washington.

2                                         s/Angela Lindsey_______________________
                                          ANGELA LINDSEY
3
                                          Legal Secretary
                                          King County Prosecuting Attorney's Office
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